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                                                                   cuEv s OFFICEu,s.Dlsm coUr
                                                                        AT LyNcHBuRq vh . u:e,-s.:''
                                                                                              .
                                                                                  FILED
                    IN TIIE UM TED STATESDISTW CT COURT                        DEc 2 7 22î5
                    FOR THE W ESTERN DISTRICT OF W RGINIA
                             LY N CH BU R G DIW SIO N                     JULI . UDLR       RK
                                                                         BY;                  .
                                                                                uPU   CLE
U NITED STATES O F A M ER ICA and
COM M ONW EALTH OF W RGINIA,e.x rel.

TER A D UD IS                                      clwl-Aclqoxxo.& .l
                                                                    qgjyyy zg
V.                                                 Jury TrialDem anded

CENTRA HEALTH,ENC.

and

SURGERY CENTER OF LYNCH BURG                       TO BE FILED UNDER SEAL
ANESTHESIA SERVICES,LLC                            AN D IN CO A'
                                                               r

and

R ADIATION O N CO L O G Y A SSO C IATES
O F LY N CH BUR G ,IN C .

and

THOM ASANGEL9,m LLIAM ANDREW S,
JO H N BA R N AR D ,D A RIN Bo w ER s,
ANGEJUA BRADY,KAREN BUItxIIo ,
PETER ce m sE,D EAN ctzo w Elt,
R O BERT co oK ,TIM O TH Y C OtqtV Itu ,
M ICH AEL DIM INICK,DAM EL ELM LL
H.c.ESCHENROEDER,RONALDFlsHEk,
G AU TH A M G o xo l,K .FIN NIE G R EEN ,
A N ITA H ILLIAR o ,Jo v cE H UER TA ,
JosEl'llHtlercu lsox,pltEw K IERNAN,
RICK LEE,CHRISTINE M ARRACCIN ,
A sH lœ v M cc o w Ex ,M ICH AEL O 'NEILL,
DAVID PH EM ISTER ,zo> Plu lllxsltl,
x Av lzlc E ,cu o L lzlc G Ix s,            :
K EN N ETH SH ER BA N ,R O BERT svo x o R , :
STEI'H EN TE RR v ,M ATTH Ew To - ltlx s, :
HOLLY TRENT,JAcos w lsBEçx                  :
and Jo sEpH w o M Bw Et,lw                  :
      Defendants.
                                    CO M PLM N T
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1.     Thisquitam action isbroughtbyRelatorTeraDudis(&tM s.Dudis'')inthennmçsofthe
Uzlited StatesofAmerica andthe Com monwealth ofVirginia,respectively,torecoverdam ages

and penaltiesarising from thesubmission offalseclaim sforpaymentby thedefendantstmder

thefederalFalseClaimsAct(31U.S.C 3729etseq.4andtheVirgirliaTaxpayersAgainstFraud
Act(CodeofVirginiaj8.01-216.1etseq.4 M s.Dudisalsoassertsclaimsfor(i)violationofthe
itstarkLaw''(42USC j 1395M )andtheGtAnti-KickbackStatm e''(42USC j1320a-7b(b)).
       ThisComplaintallegesan illegalschemewhereby aregionalhealthcarecompany,

(ûGcentraHealthlnc.''orGicentra''),aradiationoncology medicalpractice(i&lkndiationOncology
AssociatesofLynchburg,lnc.''oritRadiation OncologyAssociates''),astlrgicalcenter(Gslzrgel'
                                                                                         y
CenterofLynchbtlrgAnesthesiaServices,LLC''orGtstlrgezy Center'')andahostofindividually-
nnm ed defendantsconspired toviolatetheStark Law andtheAnti-r ckback Statute overperiod

often years.

       Theschem einvolved radiation treatm entsgiven to hundredsofdesperate cancerpatients

whowerellnlawfully referredby physiciansto facilitiesin wlaich thesephysiciansortheir

spouseshad a directfinancialinterestand aldckback schemethatsaw Ceùtraprovidem illionsof

dollarsworth offreeprofessionallaborand free use ofrealestate and equipmenttothese

physiciansillexchangeforreferralsby thephysiciansto Centra'sPearson CancerCenterfor

radiationtreatments.TheComplaintfuriherallegesthatCentraandtheotherdefendants
recruited patientsforradiation treatm entwhen such treatmentswerenotm edically appropriate,

including patientsbound forhospice w ho w ere given m edically unnecessary radiation treatm ents

w hen they had no hope ofrecovery,sim ply because these treatm entsw ere lucrative forthe

defendants.


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       Thisconspiracy resulted in thousandsoffalseclaim sto variousentitiesofthe United

StatesofAmerica and the Commonwea1th ofVirginia,including M edicare,M edicaid,Tricare,

theVeteransAdmirlistration,FAM IS and othertaxpayer-fldnded instlranceandbenefitprogrnm s.

       Centraattemptedto coverup thisschem ein M arch of2018by crafting a sham contractto

cloak the conspiracy in oneofthesafeharborexceptionsoftheStark Law,butthiseffortfailed.

Thedefendantsthereafterknowingly and willfully retainedthepaym entsthey receivedfrom

taxpayer-funded program sin directviolation ofboth theFalsç Claim sActand VirginiaFraud

AgainstTaxpayersAct.

       M s.Dudisisan ûioriginalsotlrce''ofthe information pertinentto thisComplaintas

definedby 31U.S.C.3720(e)(4).
4.     M s.Dudisdid notderivetheallegationsin tllisComplaintfrom public disclosm es.

                               JURISDIC TION A N D V EN UE

       ThisCoul'thajsubjectmatterjurisdictionoverMs.Dudis'federàlFalsedlaimsAct
countsplzrsuantto31U.S.C.3732(A)and28U.S.C.1331.
       TlzisCourthasjurisdiction overM s.Dudis'claim tmdertheVirginiaTaxpayersAgainst
FraudActplzrsuantto31U.S.C.3732(8).
        VenueisjroperintllisCourtbecause(i)defendantsCenkaandtheSurgery Centerare
eachheadquarteredintheW estem DistrictofVirginia,(ii)defendantsCenkaandtheStlrgery
CentereachconductbusinessintheW estez'
                                     nDistrictofVirgiriia,(iii)theindividuallynnmed
defendantsregularly conductbusinessintheWesternDistrictofVirginiaand(iv)theactsalleged
in the Com plaintoccurred in the W estern D istrictofV irginia and illthe City ofLynchburg.




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                                           PA RTIES

8.      PlaintiffUnited StatesofAm erica issovereign federalgovernm ent.

9.      PlaintiffComm onw eaIth ofVirginia isasovereign state oftheUnited Statesof

     erlca.

10.     RelatorTera Dudisisa citizen ofVirginiawho rysidesin Bedford Cotmty. She isa

SeniorPhysicistemployed by defendantCentraHealth,Inc.

        DefendantCentraHeaIth,Inc.(Gçcentra'')isaVirginianon-stockcop orationinthe
businessofowning and operating hospitalsand otherm edicalbusinesses,practicesand facilities

intheComm onwea1th ofVirginia. Centraownsand operatesLynchbtlrg GeneralHospital

(EtGH''),VirginiaBaptistHospital(çGVBH'')andthePearsonCancerCenter,a11locatedin
Lynchburg,Virginia.Centraisalsoapart-owneroftheDefendantSurget Centerof
Lynchburg A nesthesia Services,LLC .

        DefendantRadiation OncologyAssociatesofLynchburg,Inc.(GtRadiation Oncology
Associates'')isaVirginiastockcorporationformedin 1989.Itisactiveandin goodstanding
with theVirginia State Corporation Com mission and both itsheadquartersand itsprincipalplace

ofbusinessare in Lynchbtlrg.

        DefendantSurgeryCenterofLynchburgAnesthesiaServices,LLC (thetGsurgery
Center'')isalimitedliabilitycompany withitshepdquartersandprincipalplaceofbusinessin
Lynchblzrg,Virginiaand isregisteredby theVirginia StateCorporation Comm ission and is

licensed by the Virginia D epartm entofH ea1th to provide surgicalservices.

14.     D efendants W illiam A ndrew s,John Barnard,D arin Bow ers,K aren Burnham ,Peter

Caprise,D ean C low er,R obertC ook,Tim othy C ourville,M ichaelD im inick,D anielElw ell,



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H .C.Eschenroeder,Ronald Fisher,Gautham G ondi,K .Finnie Green,JoyceH uerta,

Joseph Hutchison,D rew K iernan,Rick Lee,ChristineM arraccini,Ashley M ccowen,

D avid Phem ister,John Prahinski,K enneth Sherban,R obert Sydnor,M atthew Tom pkins,

JacobW isbeckandJosephW ombwell(collectively,theEGsurgery CenterOwners'')are
c= entorform erownersôfdefendantSurgery CenterofLynchburgAnesthesia Services,

LL C.

        DefendantsAngelaBrady,M ichaelO'NeiIlandAnitaHilliard (collectively,the
lçRadiationOncologists'')aremedicaldoctorsandox cersofdefendantRadiation Oncology
A ssociatesofLynchburg,Inc.

16.     DefendantCarolRigginsistheM anaging DirectorofthePearson CancerCenter.

17.     DefendantKay RiceistheM anageroftheRadiation Oncology Departm entatthe

Pearson Cancer Center,

        DefendantThom asAngeloisaVicePresidentofCentra and overseesthe operation of

the Pearson CancerCenter.

19.     DefendantStephen Terry istheDirectorofPhysicsintheRadiation Oncology

Departmentofthe Pearson CancerCenter.

20.     DefendantHdlly Trentisavicepresidentand generalcolmselatCentra.

                                          FAC TS

        Centra isin thebusinessofprovidinghealth care servicesto patientsin CentralVhginia,

including radiation treatm entto cancerpatientsatits Pearson CancerCenter.




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    22.    Centra,Radiation OncologyAssociatesand the Stlrgery Centercom petewith other

    businessesproviding radiation treatmentsatfacilitiesin Danville,Charlottesville,Roanoke,

    Raleigh and elsew here.

    23.    The Surgery Centerhasprovided surgicalservicesin Lynchbtzrg since2001.

    24.    Centrais,orwas,aparbownerofthe Stlrgery Center.l

    25.    Radiation Oncology Associatesisin thebusinessofproviding radiation treatm entto

    cancerpatients.

    26.    The Radiation Oncologistsprovide radiation treaM ents atboth the Pearson Cancer

    Centerandthe Sttrgery Centerand,in addition to theiremploym entby Radiation Oncology

    AssociatesofLynchburg,lnc.,arealso on Centra'sm edicalstaff.

    27.    M s.Dudiswashiredby Centrain 2016asa SezliorPhysicistand she continuesto hold

    thatposition.

    28.    AsaSeniorPhysicist,M s.Dudisoverseestheequipm entandprocessesused toprovide             ,



    radiation therapyto cancerpatientsatCentra'sPearson CancerCenter.

'   29.    CentraacceptsTricare,M edicare,VeteransAdm inistation,FAM IS and M edicaid patients

    atthePearson CancerCenter.

    30.    The Stlrgery Centeralso acceptsTricare,M edicare,VeteransAdministration,FAH S and

    M edicaid patients.

    31.    The Slzrgery CenterOwnersarephysicianswho havean interestin the Slzrgery Center.

    32.    Radiation Oncology A ssociatesalso acceptsTricare,M edicare,VeteransA dm inistration,

    FA M IS and M edicaid patients.



    1 TheSurgery Centerwebsitelistsitsownersathttps://surgegcenterosynchburg.com/owners.h% l

                           U..
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                               KICKBACK S AND SELF-REFERRAI,S

           Centra,Radiation Oncology A ssociatesand the Surgery Centerhave foryears engaged in

    an illegalpattem oflcickbacksand self-referralsthathavecosttaxpayersmany htmdredsof

    thousandsofdollars.
-
7   34.    The schem einvolvesthetreatmentofpatientssuffering from prostate cancerwith free

    laborand freeuseofproperty and equipm entfrom Centraprovided to Radiation Oncology

    Associatesand the Stlrgery Centerin exchangeforreferralsofotherpatientsto Cenka for

    radiation treatm ent.

    35.    Patientsaretypically diagnosed withprostatecancerby aurologist,who then refersthe

    patientto aradiation oncologist.

    36.    CentraemploystheRadiation Oncologiststhrough paym entservice agreementsw1111

    Radiation OncologyAssociates.

           OneoftheRadiationOncologists,defendantAnitaHilliard,ismarriedtodefenèant
    Tim othy Cotuwillewho isoneofthe defendantSurgery Centeiowners.Dr.Hillird isthe de

    factoleaderoftheCentradoctors.
    38.    W hen apatientisdiagnosed with with prostatecancerandradiation therapy isindicated,

    thepatienttypicallyfacesachoiceoftreau entregimens.Hecan either(i)electtotmdergo
    tlzirtpnineseparatetreatmentsessionsofradiationbymeansofalinearaccelerator,or(ii)elect
    to firstreceivetreatm entby meansofradioactive seedsim planted directly in hisprostateduring

    a stugicalprocedtlre,follow ed by twentp five treatm entsessionsusing the linearaccelerator.

    Thus,by electing thesuzgicalprocedure,thepatientcan avèid fourteen treatmentsessions.

    Howevertheslzrgicalprocedtlreinvolvessubstantialrisks,including potentialrectaldnmage.



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       Overaperiod spnnningatleasttherlineyearspriorto M arch,2019,theRadiation

Oncologistsroutinely and regularly referred prostatecancerpatientsto theSurgery Centerfor

treatm entinsteadofrefening them to competing facilities.

40.    TheRadiation Oncologistswouldpush patientsto electthesmgicalprocedureinstead of

electing additionalradiation treatm ents.

       Centraprovided freeequipm enttothe Stlrgery Center,including a computer,apzinter,a

loading machine and agridm arking device.Thisequipmentwasused by theRadiation

Oncologistsin thesurgicalprocedures.

42.    Theprocedlzretoinsertradioactiveseedsinvolvesboth an initialSGvolllm eassessm ent''

dtuing wlaich the characteristicsofthefalmorareassessed and aplan forinsertion ofthe

radioactive seedsinto theprostate isform ulated,and a subsequentsm gicalprocedureduring

whichtheradioactive seedsareactually implanted intheprostate.

43.    Each oftheaboveprocedm esrequirestheattendanceandattention ofseveralCentra

employees.In particular,the actualsm gicalprocedm einvolvesapproximately tlu'
                                                                            eehoursof

participationby aphysicist,adosimetristandaradiationtechnician(rlineholzrstotal).
44.    Form orethan nineyears,Centraprovided theservicesofitsemployeesand theuse ofits

equipmentand facilitiestothe Stlrgery Center, toRadiation Oncology Associatesandto the

individually-nnm ed defendantphysicianswithoutcharge.

45.    M s.Dudisoccasionallyparticipated in theseslzrgicalprocedures.

46.    Centra provided thousandsofdollars in laborto the Stlrgery Centerw ithoutcharge for

each procedure. The Slzrgery Center averaged aboutthree proceduresperm onth overnine years.




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Thus,the Stlrgery Centerreceivedm orethan amillion dollarsin free labor9om Centraovera

ten-yearperiod.

47.    This ldckback schem ealso resulted in tax âaud becauseneitherthe Surgery Centernor

theStlrgezy Centerownersreported theincom ethey received throughthefreelaborofCentra's

em ployeesorthe free use of Centra's equipm ent.

48.    In exchangeforreceiving free laborand freeuse ofequipm entfrom Centra,theStlrgery

Center,Radiation Oncology Associates,and theindividually nnm ed defendantsreferred the

prostatepatientsandothercancerpatientsto Centra'sPearson CancerCenterforkeatm ent

instead ofrefening thesepatientsto competingfacilitiesin Charlottesville,Richm ond,Roanoke

orelsewhere.Thisarrangementmorethan madeup forthelostbusinessin radiationtreatm ents

incurredwhen patientselected the slzrgicalprocedure.

49.    Theabove-described scheme isaclassic exampleofa Stark Law violation because

defendantAnitaHilliard ismanied to defendantTim othy Courvillewho,asan ownerofthe

Stlrgery Center,had a directfnancialinterestin it.Tim othy Cotlrville isan çûimm ediatefnm ily

m ember''asdefined bythe Stark Law.

50. Each ofthedefendantSurgeryCenterowners(including Centra)benefitedfrom the
schem e.

51. InM arch of2018,Centra'sgeneralcotmsel,HollyTrent,raisedan objectiontothe
above-described kickback and self-refen'
                                       alscheme.M s.Trentattem ptedto sweep them atter

undertherug by drafting aconkactcalling foranegligiblepaym entof$50,000from the Suzgery
Centerto Centra.Thisdraftcontractwasan attempted sham knnKaction designed to invokethe

çtwritten contract''safeharborexception to theStark Law.



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52.    However,M s.Trent'splan wasthwartedwhen theSurgery Centerrefusedto executethe

contractorto pay thenominalchargeforthe freelaboritreceived âom Centra and fortheuseof

Centra'sequipm ent.

53.    TheStlrgezy CenterdemandedthatCentraretrieveitsequipmentand ceasedperforming

prostateseedingproceduresin April,2019.

54.    The above-described schem eisalso a classiclcickback schemewhereby theStlrgery

Centerand the Stlrgery Centerownersreceived iioffthebooks''renum eration in theform offree

laborand f'
          reeuseofeqtlipmentillexchangeforreferring itspatientsto Centraforfollow-up

radiation thezapy.

55.    A largemlmberofprostatecancerpatientsare coveredby Tricafe,thiVeterans

Adm inistration,M edicaidand M edicare and FAM IS.A11oftheseprogram sarefundedby the

United StatesofAm ericaortheCommonwealth ofVirginiaorboth.

56.    Centra,Radiation OncologyAssociates,theStlrgery Centerand the individually nnm ed

defendantsrepeatedly,willfully alld knowingly violatedtheStark Law and theAnti-Kickback

Statuteoverthenine-yearpeziod precedingApril,2019.

57.    Centra,Radiation OncologyAssociates,the Sttrgery Centermzd the individually nnm ed

defendantsrepeatedly,willftllly andknowingly subm itted false clnimsforpaym entto M edicare,

Tricare,theVeteransAdministration,and M edicaid fortreatmentsprovided to prostate cancer

patientstmdertheabove-describedkickback scheme,when such treatmentswerellnlawftzland

when theclaim slacked necessary docllm entation.

58.    DefendantsHolly Trent,Kay Rice,Stephen Teny CarolRigginsandThomasAngelo

conspired to concealCentra'sviolationsoftheStark Law andtheAnti-Kickback Stamte.



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                            FALSE CLAIM S -IJNBUNDLING

59.    CentrabilledM edicare,Tricaze,theVeteransA dministration,FAM IS and M edicaid for

radiation therapy servicèsprovided atthe Pearson CancerCenter.Al1oftheseprogramsare

fLmded by taxpayersthrough thetreasuriesoftheUrlited StatesofAm ericaorthe

Commonwealth ofVirgirliaorboth.

60.    In thesum merand fallof2019,Centra discovered thatforyearsithad been improperly

billing forservicesthatshould havebeen included aspaz'tofaGKbtmdle''ofradiation therapy.

FredaCarson sentem ailsdocllm entingthisoverbilling and calling forcorrective action,but

Centraneverreim bursed M edicare,Tricare,theVeteransAdm irlistration orM edicaid forthe

improperpaym entsitlcnew thatithad received aspaymentforthefalse claimsitsubm itted for

thesetmbundled services.

       One oftheprocedtlresthatCentra offered in thePearson CancerCenterwasim age

f'usion.

62.    Im agefusionsinvolvethecombination ofdifferenttypesofmedicalim aging;for

examplea CT scan im ageand aPET scan im agearecombined in am nnnerthatprovidesbetter

information than eitheroftheconstim entim ages.

63.    Im agef'usionsarepartoftheçtbtmdle''ofradiation treatmentand arenotperm itted to be

billed separately.Howeyer,Centraand Radiation OncologyAssociatesroutinely separately

billed M edicare,theVeteransAdministration,Tricare,FAM IS andM edicaid fortheseim ages.

Thisunbtmdling resulted in paymentsto which Centra wasnotentitled.

64.    By submitting claimsto Tricare,theVeteransAdm iniskation,M edicaid and M edicarefor

tmbtmdled services,Centraand Radiation OncologyA ssociatesfalsely and explicitly or



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    implicitly certified thatthey had com plied with a11applicablelawsand regulations,including

    billing law sand regulation.

    65.     Centia's false certifications were m aterial.

    66.     M edicare,Tricare,theVeteransAdm inistration,FAM IS and M edicaid paid Centra

    because ofitsfalse certification thatithad compliedwith a11applicablelawsand regulations,

    including billing lawsandregulations.TheUnited StatesofAmerica and theComm onwea1th of

    Virginiasuffered damagesdueto paym entofthesefalseclaim s.

          FM ZSE CLA IM S FO R M ED ICM LY UN N ECESSM W C AR E BY R EC RU ITIN G
                                     HOSPICE PATIENTS

    67.     Oneoftheradiation therapiesthatCentraprovidesatthe Pearson CancerCenteriscalled

    SRS(stereotacticradioslzrgery).
68.         SRS isappropriatefortreating sm alland aggressivelesionsinthebrain orspine. SRS is

notappropriatefortreating largertumors.

69.         SRS isatim e-intensiveandvery expensiveprocedure.

70.         M ostappropriate SRS patientsreceiveonetothreeSRS treatm ents.

71.         SRS isnotappropriateforterminalcancerpatientswho haveshortprognoses.

            N otwithstanding the above-described lim itationson the appropriateuse ofSRS therapy,

the Centra doctorsactively recruited terminalcancerpatients,including thosebotm dforhospice
'




progrnm s,into SRS treatm ents,by overstating thevalue andpromise ofSRS treatments,thereby

deliberately giving thesepatientsandtheirfnm iliesfalsehopeoflongevity.TheCentradoctors

recnlited thesepatientsonly because SRS treatmentswerelucrative.M ostofthesepatientsdied

within m onths.




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73.    Furtherm ore,many oftheseterm inalcancerpatientsreceived fotlr,five oreven m ore

SRS keatm ents,when such treatm entshad no chanceofsucceeding and thereforewere

completely medically unnecessary.

74.    By submitting claim jforpaym entto M edicaid,Tricare,theVeteransAdminiskation and

M edicareform edically llnnecessary SRS treatments,Centra certified,explicitly orim plicitly,

thattheSRS treatm entswerem edically necessary.

       Centra'sfalsecertificationsthattheSRS treatm entswerem edically necessary were

m aterial.

       M edicare,Tricare,theVeteransAdmirzistration and M edicaid paid Centrabecauseofthe

falseclaimssubmittedformedicallylinnecessarySRStreatments.TheUnitelStatesofAmerica
andtheComm onwea1th ofVirginia suflkred dmuagesduetopaymentofthesefalseclaim s.

                                    C AU SES O F A CTIO N

               COUNT 1- FEDEM L FALSX CLM M SACT W OLATION
 31U.S.C.j3729(a)(l)PresentingClaimstoMedicre,Tricare,theVeteransAdministationand
M edicaid forDesignated Health ServicesRendered asaResultofViolationsofthe Stark Statute

77.    M s.Dudis,asRelator,incorporatesand re-allegesa11oftheforegoing allegationsherein.

       By subm itting false claim sto M edicare,Tricare,theVeteransAdministration and

M edicaid,Centra,the Surgery Centerandtheindividually nnmed defendantsfalsely certified,

explicitly orimplicitly,compliancewith al1laws,rulesand regulationsrequired forpaypentof

theclaim s,including,butnotlim itedto,the Stark Law and theAnt-M ckback Statute.

79.    By engaging in the actssetforth above,Centra,Radiation OncologyA ssociates,the

Surgery Centerand the individually nnm ed defendants,by and tllrough their agents,oftk ersand

employees,inviolation oftheFalseClaimsAct,31U.S.C.553729-3723,(i)knowingly

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presented orcaused tobepresented to the Governm entoftheUnited StatesofAm erica

numerousfalseorâaudulentclaimsforpaymentorapproval,(ii)knowinglymade,usedor
caused tobe madeorused,falserecordsorstatem entsto obtain paym entorapprovalofafalseor

fraudulentclaim bytheGovernmentoftheUrlitedStatesofAmerica,(iii) knowinglyconcealed
orknowingly and im properly avoided ordecreased an obligation topay ortransm itm oney or

propertytotheGovernmentand(iv)conspizedtoviolatesubparagraph (A),(B),(D),(E),(F),or
(G)of 31U.S.C.j3729.
80.    TheUrlited StatesofAm ericahasbeen dnm aged asaresultofthedefendants'violations

oftheFalseClaim sActin an nmotmttobeproven attrial.

81.    The United StatesofAm erica isentitled totreble dnmagesdueto tliedefendants'

violationsoftheFalseClaim sAct.

82.    TheUnited StatesofAmericaisentitled to recovercivilpenaltiesin the minimtlm

nmotmtof$11,463 andinthemaximllm nmountof$22,927ptlrsuantto31U.S.C.j3729($ for
                                             .
                                                 '




each violation oftheFalse Claim Actby any ofthedefendarlts.

83.    M s.Dudis,asRelator,isentitled torecoverherreasonableattorney'sfeesand costs

pursuantto31U.S.C.j3730(d)(1).
  COUNT 2 - VIOLATION OF THE VIRGINIA FM UD AGATNST TAXPAYERS ACT

84.    M s.Dudis,asRelator,incorporatesand re-allegesalloftheforegoing allegationsherein.

85.    Based upon the actsdescribed above,Centra,theStzrgery Centerand each ofthe

individually nam ed defendantsknow ingly com m itted one orm ore ofthe follow ing actsin

violation oftheV irginia Fraud A gainstTaxpayersA ct:

       A) Knowinglypresented,orcausedtobepresentedtotheCommonwealth ofVirginia,a


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           falseorfraudulentclaim forpaym entorapproval;

       B) Knowinglymade,used,orcausedtobemadeorused,afalserecordorstatementto
           getafalse orfraudulentclaim paid orapprovedby the Com m onwea1th ofVirginia.

86.    TheComm onwealth ofVirginia,tmaware ofthefalsity oftheseclaim s,records,and

statementsm adeby each orany ofthedefendants,and in relianceon the acctlracy thereof,paid

m oney to each orany ofthedefendantsand orthedefendants'agentsorsubsidiades.

       The Com monwealth ofVirginiaand the generàlpublichavebeen damaged by each or

any ofthe defendants'violationsoftheVirginiaFraudAgainstTaxpayersAct.

88.    The Com monwealth ofVirginiaisentitledtotrebledam agesdueto each orany ofthe

defendants'violationsoftheVirginiaFraudAgainstTaxpayersActpursuantto CodeofVirginia

j8.01-216.3.
89.    TheComm onwea1th ofVirginiaisentitled torecovercivilpenaltiesin theminimllm

amountof$11,463andinthemaximllm nmountof$22,927ptlrsuantto CodeofVirginiaj8.01-
216.3foreach violation oftheVirginiaFraud AgainstTaxpayersActby each orany ofthe

defendants.

90.    M s.Dudis,asRelator,isentitled to am axim llm oftwentp fivepercentand in any caseno

lessthanfifteenpercentofanyjudgmentobtainedagainsteachorany ofthedefendantsifthe
Com m onw ealth intervenesin thisaction.

       M s.Dudis,asRelator,isentitled to am axim llm oft ' percentand in any caseno less

th= twenty-fivepercentofanyjudgmentobtainedagainsteachorany ofthedefendantsifthe
Com m onw ealth declinesto intervene in this action.




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        M s.Dudis,asRelator,isentitled torecoverherexpenses,costsandreasonableattorney's

feesin bringing forth thisaction.

      W HEREFORE with respectto CountOne,the Relators,on behalfofherselfand the
United StatesofAmerica,requestthatthisCourtgrantthe following relief:

   (a)         Judgmentagainstdefendantsinallnmotmtequaltothreetimestheamountof
         dam agestheUnited StatesofAmericahassustained becauseofthedefendant'sactions,
         plusacivilpenaltyof$11,463to$22,927foreachviolationof31U.S.C.j3729andthe
         costsofthisaction,with interest,including thecostsoftheUnited StatesofAm ericaand
         theComm onwea1th ofVirginia;

   (b)         ThattheRelatorbeawardeda11costsandexpenses,includingreasonable
         attorney'sfees;

   (c)         ThatintheeventtheUnited StatesofAmericaintervenesintllisaction,the
         Relatorbe awarded 25% ,butin no eventlessthan 15% oftheproceedsoftheresulting
        judgmentorsettlementofthisaction;
   (d)         ThatintheeventtheUnited StatesofAmericadoesnotinterveneinthisaction,
        theRelatorbeawarded 30% ,butin no eventlessthan 25% oftheproceedsofthe
        resultingjudgmentorsettlementofthisaction;
   (e)         ThattheRelatorbeawardedpre-judgmentinterest;and
   (9          ThattheUnitedStatesofAmericaandtheRelatorreceiveallsuch otherlegaland
         equitablereliefastllisCotlrtdeemsappropriate.

        W H EREFORE with respectto CotmtTwo,theRelator,on behalfofherselfand the
Comm onwealth ofVirginia,requestthattlzisCourtgrantthefollowing reliefto wllich they are
entitled undertheVirginiaFraudAgainstTaxpayersAct.


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                                    Respectfrlly subm itted,

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                                        TEM DU DIS
                                         By Counsel

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